Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 1 of 8 Page ID #:423


     Lynn A. Neils (Admitted Pro Hac Vice)
 1   lynn.neils@bakerbotts.com
     BAKER BOTTS L.L.P.
 2   30 Rockefeller Plaza
     New York, New York 10112
 3   Telephone: (212) 408-2510
     Facsimile: (212) 259-2510
 4
     Attorney for Entertainer and Manager
 5
     Joel C. Koury (State Bar No. 143856)
 6   jckoury@aol.com
     Law Offices of Joel C. Koury
 7   3435 Ocean Park Blvd., Suite 107-50
     Santa Monica, CA 90405
 8   Telephone: (424) 248-8670
     Facsimile: (855) 828-0871
 9
10   Attorney for Entertainer and Manager

11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                Case No.: CR 18-00022-CAS
14                   Plaintiff,               DECLARATION OF LYNN A. NEILS
           vs.                                IN SUPPORT OF MOTION TO
15                                            QUASH OR MODIFY SUBPOENAS
16   BENJAMIN KOZIOL,

17                   Defendant.

18
19
20   I, Lynn A. Neils, declare:
21
22         1.     I am a partner at the law firm of Baker Botts L.L.P. and licensed to
23   practice law in the State of New York. I am the Attorney for Entertainer and
24   Manager, the victims of the extortion scheme charged in the above-referenced case
25   (collectively “the Victims”). I have personal knowledge of the facts set forth in this
26   declaration. I submit this declaration in support of the accompanying motion to
27   quash or modify (1) the trial subpoena issued by the defense and served on Lynn A.
28   Neils on May 16, 2018 (the “Trial Subpoena”) and (2) the early return subpoenas
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 2 of 8 Page ID #:424



 1   issued by the defense pursuant to this Court’s May 18, 2018 Order (collectively, the
 2   “Early Return Subpoenas”):
 3                a. The subpoena to Entertainer, dated May 9, 2018 (calling for
 4                   testimony and the production of contracts and retainer agreements);
 5                b. The subpoena to Manager, dated May 9, 2018 (calling for
 6                   testimony and the production of contracts and retainer agreements);
 7                c. The subpoena to Lynn A. Neils, dated May 9, 2018 (calling for
 8                   testimony and the production of contracts and retainer agreements);
 9                d. The subpoena to Joseph Perry, dated May 9, 2018 (calling for
10                   testimony and the production of contracts and retainer agreements);
11                   and
12                e. The subpoena to J. Reid Hunter, dated May 9, 2018 (calling for
13                   testimony and the production of contracts and retainer agreements).
14   The Trial Subpoena and the Early Return Subpoenas are collectively referred to as
15   the “Subpoenas” in this declaration.
16         2.     The discovery sought by the Subpoenas is overbroad, is unlikely to
17   lead to any admissible or relevant evidence and will not aid the jury in determining
18   whether the defendant attempted to extort the Entertainer.
19         3.     In anticipation that the defense may issue, or seek permission from the
20   Court to issue, the Subpoenas, I submitted a May 9, 2018 letter to Your Honor,
21   which was subsequently attached to a Notice Regarding Victims’ Letter filed by the
22   Government on the same day. I have attached the Government’s Notice and my
23   attached letter hereto as Exhibit A. In that letter, I specifically objected to, inter
24   alia, the defense’s likely request to obtain (1) copies of the operative contracts
25   between the Entertainer and the Manager and (2) copies of the retainer agreements
26   between the Entertainer and/or the Manager and their lawyers, including the
27   retainer agreement with my firm and that of J. Reid Hunter. I also requested an
28   opportunity to be heard, as required by Rule 17(c)(3), if such an application for a
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 3 of 8 Page ID #:425



 1   subpoena to obtain those records were made, on the grounds that those records
 2   contained personal and confidential information about a victim, were irrelevant to
 3   the issues in the case, and disclosure of those records to defense counsel could be
 4   highly prejudicial to the Victims.
 5         4.     On or around the time that I filed my May 9, 2018 letter with the
 6   Court, it appears that the defense submitted an ex parte application requesting an
 7   order from this Court for the issuance of the Early Return Subpoenas. The Court
 8   subsequently granted the defense’s application for the issuance of subpoenas on
 9   May 18, 2018 (“the Court’s May 18 Order”).
10         5.     The Court authorized the issuance of the Early Return Subpoenas to
11   the following eight parties: (1) Entertainer; (2) Manager; (3) Lynn A. Neils; (4)
12   Joseph Perry; (5) J. Reid Hunter; (6) Patricia Glaser; (7) Kerry Garvis Wright; and
13   (8) Gary Stiffelman.
14         6.     The Early Return Subpoenas direct the eight different subpoenaed
15   parties to appear to testify and demand the production of the same categories of
16   documents by May 23, 2018:
17                a. Copies of all contractual agreements between Manager and
18                   Entertainer operative at any time between December 1, 2015 and
19                   January 19, 2018;
20                b. Copies of all retainer agreements between Manager and Entertainer
21                   and their counsel, including Lynn A. Neils, Kerry Garvis Wright, J.
22                   Reid Hunter, Joseph Perry, Patricia Glaser, and Gary Stiffelman, in
23                   connection to matters involving Jordan Sweet and Benjamin
24                   Koziol.
25         7.     On May 18, 2018, I received an email from the defendant’s counsel,
26   attaching a copy of the Court’s May 18 Order and attaching the Early Return
27   Subpoenas issued to me, Entertainer and Manager. I agreed to accept service of the
28   Early Return Subpoenas on behalf of myself, the Entertainer and the Manager. On
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 4 of 8 Page ID #:426



 1   May 21, 2018, my colleague, Joseph Perry, was served with the Early Return
 2   Subpoena at our offices in New York City. J. Reid Hunter informed me that he was
 3   also served with the Early Return Subpoena.
 4         8.    Although the Court’s May 18 Order prohibited counsel for the
 5   Entertainer and Manager from notifying the Government of the Early Return
 6   Subpoenas, based on my conversations with Ann Kim, one of the Assistant U.S.
 7   Attorneys (“AUSAs”) handling this matter, the Government was already aware of
 8   the Early Return Subpoenas.       Ms. Kim informed me that during the pre-trial
 9   conference held before the Court on May 18, 2018—at which I was not present—
10   the Court disclosed generally to the Government that it had authorized the issuance
11   of the Early Return Subpoenas. I have not, however, had any conversation with the
12   AUSAs regarding, or notified them, about the Early Return Subpoenas.
13         9.    The AUSAs are nonetheless aware that I have been subpoenaed in
14   connection with this case. On May 16, 2018—two days prior to the Court’s May
15   18 Order—the defense served me with the Trial Subpoena, as I was exiting Your
16   Honor’s courtroom after a Pretrial Conference in this case. The AUSAs were
17   exiting Your Honor’s courtroom at the same time and were present when I was
18   served with the Trial Subpoena.     I have attached a copy of the Trial Subpoena as
19   Exhibit B hereto.
20         10.   The Trial Subpoena served on me is different than the Early Return
21   Subpoena, authorized by the Court, in one significant respect; it demands the
22   production of an additional, and large, category of documents that was not included
23   in the Early Return Subpoena to me that was authorized by the Court, namely
24   “[c]opies of all electronic communications between me and the United States
25   Attorney’s Office from October 1, 2017 until present.”
26         11.   I submit this declaration and the accompanying memorandum of law
27   to: object to, and request that the Court quash or modify the Subpoenas and request,
28   at a minimum, a hearing to allow counsel for the Victims to be heard regarding the
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 5 of 8 Page ID #:427



 1   propriety of the Subpoenas. The discovery sought in the Subpoenas is overbroad, is
 2   unlikely to lead to any admissible or relevant evidence and will not aid the jury in
 3   determining whether the defendant extorted Entertainer.
 4         12.    Through my discussions with AUSA Kim and based on the Court’s
 5   May 18 Order, I understand that Your Honor has instituted a procedure, at least
 6   with respect to the Early Return Subpoenas, whereby the documents responsive to
 7   the Early Return Subpoenas are returnable to the Court and not the defense and that
 8   any document produced will in the first instance be reviewed by Your Honor in
 9   camera. I further understand that Your Honor only intends to provide to the
10   defense those documents that the Court deems are relevant to this proceeding.
11         13.    With that understanding, we have provided copies of documents that
12   are responsive to the Early Return Subpoenas issued to the Entertainer, Manager,
13   Lynn A. Neils, Joseph Perry, and J. Reid Hunter by separate cover to Your Honor’s
14   Chambers (“the Subpoenaed Documents”).         Consistent with the Protective Order
15   issued by Your Honor in this case, we have deleted any identifying information
16   related to the Manager or Entertainer on the Subpoenaed Documents and have
17   inserted the term “Entertainer” or “Manager” in lieu of their names. I submit that
18   the defense is not entitled to any of these documents, as they are not relevant to any
19   issue in the upcoming trial.
20         14.    One of the documents provided to the Court was a management
21   contract between the Entertainer and the Manager (“the Management Agreement”).
22   As the Court will observe, the Management Agreement pre-dates the conduct
23   alleged in the Indictment by more than six years and has absolutely nothing to do
24   with the defendant’s extortionate scheme to obtain $1 million from Entertainer.
25   Rather, the Management Agreement, generally speaking, describes the services that
26   the Manager will provide the Entertainer and the fees that the Manager will earn in
27   exchange for those services.
28
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 6 of 8 Page ID #:428



 1          15.    Because the defense’s application for the Early Return Subpoenas was
 2   submitted ex parte, I have no knowledge of the offer of proof—if any—that the
 3   defense provided the Court regarding their request for the Management Agreement.
 4   Having reviewed the agreement myself, I submit there is nothing about the
 5   Management Agreement that relates to the underlying facts of, or issues to be
 6   decided in, the upcoming trial.           The defense’s request for the Management
 7   Agreement amounts to an impermissible fishing expedition.
 8          16.    The defense has requested the engagement letters for any lawyers who
 9   have represented the Manager and/or Entertainer “in connection to matters
10   involving Jordan Sweet and Benjamin Koziol.”              Several engagement letters were
11   included in the package of Subpoenaed Documents. None of those documents bear
12   on, or are relevant to, the factual issues to be resolved at the defendant’s upcoming
13   trial. It is hard to see how these engagement letters, which are mainly boilerplate
14   and set forth what fees can or will be charged, would be relevant to any issue
15   relevant to the defense. To the extent that the defense wants to question trial
16   witnesses, such as Mr. Hunter or Ms. Wright, for example, regarding who they were
17   representing when they had interactions with the defendant or his wife, they could
18   simply do so; they need not have, nor should they be permitted to obtain, the
19   engagement letters, which would be cumulative to their testimony.1
20          17.    Defendant’s demand in the Trial Subpoena that I produce copies of all
21   electronic communications between me and the United States Attorney’s Office
22   from October 1, 2017 until present is not only overbroad and clearly a fishing
23   expedition, it is also an attempt to make an end-run around the discovery rules.
24          18.    I understand, based on my discussions with AUSA Kim, that the
25   Government has already provided the defense with certain copies of their
26
     1
27     We note that, under California State law (which differs from federal law), engagement letters
     are considered confidential communications protected by the attorney-client privilege. See
28   Business and Professions Code § 6149.
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 7 of 8 Page ID #:429



 1   communications with me, consistent with their discovery obligations.         If the
 2   defense believes that they have not received all the documents from the
 3   Government to which they maintain they are entitled, the defense should make an
 4   application to this Court for relief—and not issue a Trial Subpoena to me as an end-
 5   run around to their discovery dispute with the Government.
 6         19.   Moreover, because the defense issued the Trial Subpoena without
 7   leave of the Court, the defense had no occasion to submit an offer of proof to Your
 8   Honor regarding the basis of their request for all communications between myself
 9   and the Government from October 1, 2017 to the present. Nor could the defense
10   make such a showing. For example, there is neither a basis for the defense to have
11   my communications with the Government regarding scheduling matters nor is there
12   a basis for the defense to have my communications regarding the Victims’ privacy
13   concerns. These topics, among others, are simply not relevant to the issue in this
14   case—whether the defendant attempted to extort the Entertainer. Accordingly, the
15   Court should determine that the defense’s request for these communications was
16   entirely improper.
17         20.   Finally, both the Early Return Subpoenas issued to me and my
18   colleague, Joseph Perry, and the Trial Subpoena issued to me, call for our trial
19   testimony. The only involvement that either Mr. Perry or I had concerning the
20   defendant’s attempted extortion scheme was a letter that I sent to the defendant via
21   email—prior to our referral of the matter to the U.S. Attorney’s Office and the
22   FBI—demanding that he cease his extortionate communications to the Entertainer.
23   I have been informed by the AUSAs that the Government does not intend to
24   introduce my letter into evidence at trial. Accordingly, I see no non-privileged
25   testimony that either I or Mr. Perry could provide at the upcoming trial, and
26   subpoenaing both Mr. Perry and myself is nothing short of excessive and
27   overreaching. The Early Return Subpoena and Trial Subpoena to me, and the Early
28   Return Subpoena to Mr. Perry, should accordingly be quashed.
Case 2:18-cr-00022-CAS Document 67-1 Filed 05/23/18 Page 8 of 8 Page ID #:430



 1         21.   I declare under penalty of perjury that the foregoing is true and correct.

 2
 3   Dated May 23, 2018
 4
 5                                   Baker Botts L.L.P.
 6
 7                                   By:   /s/ Lynn A. Neils
 8
 9                                   Attorney for Entertainer and Manager
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
